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                             UNITED STATES DISTRICT COURT FOR
                             EASTERN DISTRICT OF PENNSYLVANIA


      ANTHONY PARKER, Plaintiff                                     DEMAND FOR TRIAL
              v.
      LEHIGH COUNTY DOMESTIC
      RELATIONS SECTION, Defendant


      PLAINTIFF, Anthony Parker (hereinafter “Plaintiff”), complaining of the Defendants, alleges
     and says:
                          JURISDICTIONAL STATEMENT AND PARTIES

     Plaintiff Anthony Parker (hereinafter “Plaintiff”) is a citizen and resident of Indiana residing in

     Marion County.

1.    Defendant Lehigh County Domestic Relations Section., (hereinafter “Defendant”) is a

     Government organization registered in the State in Pennsylvania to conduct business within the

     state and at all times relevant herein operates within the state of Pennsylvania.

2.    Defendant at all times material to this complaint, operated, managed and/or maintained

     facilities at 455 W. Hamilton St. Allentown, Pa. 18101

3. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1343.

4. Venue is proper under 28 U.S.C. §1391(b) and 42 U.S.C.§2000e-5(f)(3) as the alleged US

     Constitutional violations committed within the State of Pennsylvania and Defendant has

     contacts that are sufficient to subject it to personal jurisdiction within the Eastern District

     thereof.

5. The alleged wrongs and damages described herein occurred in Allentown Lehigh County,

     Pennsylvania.

6.    Plaintiff has complied with all jurisdiction and procedural requirements of Pennsylvania

     Constitution and US Constitution.



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                                      STATEMENT OF FACTS

7. The allegations contained in preceding paragraphs of the Complaint are re-alleged and
   incorporated by reference as though fully set forth herein.
8. December 2, 2019 Plaintiff, Anthony Parker, attended modification hearing. (Exhibit 1)
9. October 2019, Defendant denied right to file objections to modification hearing, (Exhibit 1,2).
10. Defendant abused Plaintiffs right in Subchapter C. Jurisdiction of Superior Court Sec.
   741. Original jurisdiction. The Superior Court shall have no original jurisdiction, except in
   cases of mandamus and prohibition to courts of inferior jurisdiction where such relief is
   ancillary to matters within its appellate jurisdiction, and except that it, or any judge thereof,
   shall have full power and authority when and as often as there may be occasion, to issue writs of
   habeas corpus under like conditions returnable to the said court.(1,2,3).
11. January 20, 2020, Plaintiff filed appeal to Pa. Superior Court through Lehigh County Domestic
   Section as required by law. Defendant abused authority and refused to submit appeal to Pa.
   Superior Court as required by law. (Exhibit 1,2)
12. Defendant subverted the law; Subchapter C. Jurisdiction of Superior Court Sec. 742. Appeals
   from courts of common pleas: The Superior Court shall have exclusive appellate jurisdiction of
   all appeals from final orders of the courts of common pleas, regardless of the nature of the
   controversy or the amount involved, except such classes of appeals as are by any provision of
   this chapter within the exclusive jurisdiction of the Supreme Court or the Commonwealth Court.
   (Exhibit 1,2)
13. Plaintiff Anthony Parker denied Pennsylvania Constitutional right to file objections and appeal;
   Pennsylvania Constitution, Power of Suspending Laws Section 12. No power of suspending
   laws shall be exercised unless by the Legislature or by its authority. (Exhibit 1,2)
14. Anthony Parker in December 2019 denied right to file appeal to Pennsylvania Superior Court;
   Pennsylvania Constitution, Courts to Be Open; Suits Against the Commonwealth Section 11.
   All courts shall be open; and every man for an injury done him in his lands, goods, person or
   reputation shall have remedy by due course of law, and eight and justice administered without
   sale, denial or delay. Suits may be brought against the Commonwealth in such manner, in such
   courts and in such as the Legislature may by law direct. (Exhibit 1,2 ,3)
15. Lehigh County Domestic relations Court made illegal law that Plaintiffs objection not
   appealable, (Exhibit 1,2,3,4,5,6,7,8,9,9a,9b,10,11).

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16. Defendant has not followed federal procedure; 42 U.S. Code § 666. (10) REVIEW AND
   ADJUSTMENT OF SUPPORT ORDERS UPON REQUEST.—             (A) 3-year cycle.— (i) In general.—
   Procedures under which every 3 years (or such shorter cycle as the State may determine), upon
   the request of either parent or if there is an assignment under part A, the State shall with respect
   to a support order being enforced under this part, taking into account the best interests of the
   child involved, (Exhibit 4, 5, 6,9, 9a, 9b 10,11).
17. Defendant issued order for child support outside their jurisdiction with knowledge of error but
   fails to correct, Mother of child live in South Carolina and has live there over 20 years.
18. Lehigh County Domestic Relations Court violated state and federal constitutional rights to file
   appeal to higher Court, (Exhibit 1,2, 9, 9a, 9b,).
19. Defendant institutional harmed the Plaintiff Anthony Parker; Title 18, U.S.C., Section 241 -
   Conspiracy Against Rights; This statute makes it unlawful for two or more persons to conspire
   to injure, oppress, threaten, or intimidate any person of any state, territory or district in the free
   exercise or enjoyment of any right or privilege secured to him/her by the Constitution or the
   laws of the United States, (or because of his/her having exercised the same),
   (1,2,3,4,5,6,7,8,9,9a,9b,10,11).
20. Plaintiff denied the right to appeal child support orders; Pennsylvania Constitution, Right of
   Petition Section 20. The citizens have a right in a peaceable manner to assemble together for
   their common good, and to apply to those invested with the powers of government for redress of
   grievances or other proper purposes by petition, address or remonstrance. (Exhibit 1, 2, 3)
21. Defendant, is vicariously liable for the acts of its employees, officers, and agents thereof,
   including but not limited to Defendants Management employees.

                                     FIRST CAUSE OF ACTION
                               Article I, Section 8 of the US Constitution.

22. The allegations contained in preceding paragraphs of the Complaint are re-alleged and
   incorporated by reference as though fully set forth herein.
23. At all times relevant to this complaint, Plaintiff Anthony Parker was Defendant in child support
   order.
24. Article I, Section 8 of the US Constitution. One clause of that section states that Congress has
   the right to set up courts that will be inferior to the Supreme Court.


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25. Defendant abused Plaintiffs right in Subchapter C. Jurisdiction of Superior Court Sec.
   741. Original jurisdiction. The Superior Court shall have no original jurisdiction, except in
   cases of mandamus and prohibition to courts of inferior jurisdiction where such relief is
   ancillary to matters within its appellate jurisdiction, and except that it, or any judge thereof,
   shall have full power and authority when and as often as there may be occasion, to issue writs of
   habeas corpus under like conditions returnable to the said court.
26. January 20, 2020, Plaintiff filed appeal to Pa. Superior Court through Lehigh County Domestic
   Section as required by law. Defendant abused authority and refused to submit appeal to Pa.
   Superior Court as required by law. (Exhibit 1,2).
27. Defendant, is vicariously liable for the acts of its employees, officers, and agents thereof,
   including but not limited to Defendants Management employees.
28. Defendants' conduct was intentionally willful to harm the Plaintiff by denying modification of
   child support order and denial of appeal process to Pa. Superior Court; as described above, was
   malicious conduct and Plaintiff is entitled recovery damages including liquidated damages in
   excess of $10,000.00.
29. Plaintiff is further entitled to recovery of and the cost and expense of this action.

                                    SECOND CAUSE OF ACTION
                               Article III, Section 2 US CONSTITUTION

30. The allegations contained in preceding paragraphs of the Complaint are re-alleged and
   incorporated by reference as though fully set forth herein.
31. At all times relevant to this complaint, Plaintiff Anthony Parker was Defendant in child support
   order.
32. Article III, Section 2 US Constitution; That section says (among other things) that the Supreme
   Court will have appellate jurisdiction in certain types of cases.
33. Defendant subverted the law; Subchapter C. Jurisdiction of Superior Court Sec. 742. Appeals
   from courts of common pleas: The Superior Court shall have exclusive appellate jurisdiction of
   all appeals from final orders of the courts of common pleas, (Exhibit 1,2).
34. Plaintiff Anthony Parker denied Pennsylvania Constitutional right to file objection and appeal;
   Pennsylvania Constitution, Power of Suspending Laws Section 12. No power of suspending
   laws shall be exercised unless by the Legislature or by its authority. (Exhibit1,2).


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35. Anthony Parker in December 2019 denied right to file appeal to Pennsylvania Superior Court;
   Pennsylvania Constitution, Courts to Be Open; Suits Against the Commonwealth Section 11.
   All courts shall be open; and every man for an injury done him in his lands, goods, person or
   reputation shall have remedy by due course of law, and eight and justice administered without
   sale, denial or delay. Suits may be brought against the Commonwealth in such manner, in such
   courts and in such cases as the Legislature may by law direct. (Exhibit 1,2,3)
36. Lehigh County Domestic relations Court made illegal law that Plaintiffs objection not
   appealable, (Exhibit 1,2).
37. Defendant has not followed federal procedure; 42 U.S. Code § 666. (10) REVIEW AND
   ADJUSTMENT OF SUPPORT ORDERS UPON REQUEST.—             (A) 3-year cycle.— (i) In general.—
   Procedures under which every 3 years (or such shorter cycle as the State may determine), upon
   the request of either parent or if there is an assignment under part A, the State shall with respect
   to a support order being enforced under this part, taking into account the best interests of the
   child involved, (Exhibit 4,5,6, 10).
38. Defendant, is vicariously liable for the acts of its employees, officers, and agents thereof,
   including but not limited to Defendants Management employees.
39. Defendants' conduct was intentionally willful to harm the Plaintiff by denying modification of
   child support order and denial of appeal process to Pa. Superior Court; as described above, was
   malicious conduct and Plaintiff is entitled recovery damages including liquidated damages in
   excess of $10,000.00.
40. Plaintiff is further entitled to recovery of and the cost and expense of this action.


                                     THIRD CAUSE OF ACTION
                        Title 18, U.S.C., Section 241 - Conspiracy Against Rights
41. The allegations contained in preceding paragraphs of the Complaint are re-alleged and
   incorporated by reference as though fully set forth herein.
42. At all times relevant to this complaint, Plaintiff Anthony Parker was Defendant in child support
   orders.
43. Defendant has not followed federal procedure; 42 U.S. Code § 666. (10) REVIEW AND
   ADJUSTMENT OF SUPPORT ORDERS UPON REQUEST.—             (A) 3-year cycle.— (i) In general.—
   Procedures under which every 3 years (or such shorter cycle as the State may determine), upon

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    the request of either parent or if there is an assignment under part A, the State shall with respect
    to a support order being enforced under this part, taking into account the best interests of the
    child involved, (Exhibit 4, 5, 6, 9,9a,9b, 10).
44. Defendant issued order for child support outside their jurisdiction with knowledge of error but
    fails to correct, Mother of child live in South Carolina and has live there over 20 years, (Exhibit
    9,9a,9b),
45. Lehigh County Domestic Relations Court violated state and federal constitutional rights to file
    appeal to higher Court. (Exhibit 1,2,,3,4,5,6,7,8,9,9a,9b,10,11).
46. Defendant institutional harmed the Plaintiff Anthony Parker; Title 18, U.S.C., Section 241 -
    Conspiracy Against Rights; This statute makes it unlawful for two or more persons to conspire
    to injure, oppress, threaten, or intimidate any person of any state, territory or district in the free
    exercise or enjoyment of any right or privilege secured to him/her by the Constitution or the
    laws of the United States, (Exhibit 1,2,3,4,5,6,7,8,9,10,11).
47. Defendant, is vicariously liable for the acts of its employees, officers, and agents thereof,
    including but not limited to Defendants Management employees.
48. Defendants' conduct was intentionally willful to harm the Plaintiff by denying modification of
    child support order and denial of appeal process to Pa. Superior Court; as described above, was
    malicious conduct and Plaintiff is entitled recovery damages including liquidated damages in
    excess of $10,000.00.
49. Plaintiff is further entitled to recovery of and the cost and expense of this action



   NOW, THEREFORE, the Plaintiff prays unto the Court as follows:
1. That the Court issue a declaration that defendant have violated the plaintiff’s legal rights;
2. That Plaintiffs recover of Defendant compensatory damages against Defendant for the violation
   Breach of Pennsylvania and US Constitutional rights. loss of reputation, emotional distress and
   inconvenience, for an amount in excess of $75,000.00, which amount shall be determined
   specifically at the trial of this action;
3. That Plaintiff recovers the benefits to which he is entitled under the Law.
4. That plaintiffs recover punitive damages in an amount in the discretion of the jury;




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5. That plaintiff recovers the costs of this action, including reasonable fees for his representation
   herein;
6. That this Court award pre-judgment and post-judgment interest on all amounts recovered herein;
   and
7. That this Court grant such other relief as it deems just and appropriate.




    This the 25th day of June 2020.

                                                                                     Anthony Parker
                                                                                 ANTHONY PARKER,
                                                                                   5868 E. 71st St. E336
                                                                                 Indianapolis, In. 46220




                                      CERTIFICATE OF SERVICE


             I certify that on June 25, 2020, a copy of Plaintiff’s Complaint was filed with the Clerk of

   Court and a copy was mailed via certified first-class mail to Defendant addressed as shown

   below:

                                            DEFENDANT
                                Lehigh County Domestic Relations Section
                                          West Hamilton St.
                                         Allentown, Pa. 18101

                                                                                   Anthony Parker
                                                                                 ANTHONY PARKER
                                                                                   5868 E. 71st St. E336
                                                                                 Indianapolis, In. 46220




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